






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00591-CV






In re Paul Douglas Archer






ORIGINAL PROCEEDING FROM COMAL COUNTY





M E M O R A N D U M   O P I N I O N

		Relator Paul Douglas Archer, an inmate convicted of the offenses of indecency with
a child and aggravated sexual assault, (1)
 has filed a pro se petition for writ of mandamus against the
Sheriff of Comal County and the chief civil legal assistant of the Comal County District Attorney's
Office.  The petition alleges that respondents have refused to provide information requested
by&nbsp;relator under the Texas Public Information Act.  See Tex. Gov't Code Ann. §§ 552.001-.353
(West 2004 &amp; Supp.&nbsp;2010).

		This Court's mandamus jurisdiction is limited.  We have jurisdiction to issue a writ&nbsp;of
mandamus against district or county court judges in our district.  See id. § 22.221(b) (West 2004).
We do not have mandamus jurisdiction against other individuals unless issuance of the writ is
necessary to enforce this Court's jurisdiction.  See id. § 22.221(a); see also Silva v. Klevenhagen,
833&nbsp;S.W.2d 746, 747 (Tex. App.--Houston [1st Dist.] 1992, orig. proceeding).  Relator has not
demonstrated, and we do not conclude, that the requested relief is necessary to enforce our
jurisdiction.

		The petition for writ of mandamus is denied.  See Tex. R. App. P. 52.8(a).



						__________________________________________

						Bob Pemberton, Justice

Before Chief Justice Jones, Justices Pemberton and Henson

Filed:   October 19, 2011

1.   See Archer v. State, Nos. 03-07-00019-CR &amp; 03-07-00020-CR, 2007 Tex. App. LEXIS
6612 (Tex. App.--Austin Aug. 17, 2007, pet. ref'd, untimely filed) (mem. op., not designated for
publication).


